     Case 2:16-cv-00352 Document 11 Filed on 01/26/17 in TXSD Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

OLIVER ESPARZA,

                Plaintiff,

v.
                                                             Case No. 2:16-cv-00352

MEDICREDIT, INC.

                Defendant.


             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Oliver

Esparza and Defendant Medicredit, Inc. (the “Parties”) file this Joint Stipulation of

Dismissal with Prejudice. The Parties agree and stipulate that this action and all claims

contained in this matter should be dismissed with prejudice. The Parties also agree and

stipulate that each shall be responsible for his/its own respective costs and attorneys’ fees

incurred as a result of this action.

                                              Respectfully submitted,

                                              KIMMEL & SILVERMAN, P.C.

                                              /s/ Amy L. Bennecoff Ginsburg
                                              Amy L. Bennecoff Ginsburg, Esq.
                                              30 East Butler Pike
                                              Ambler, PA 19002
                                              Phone: (215) 540-8888
                                              Fax: (877) 788-2864
                                              aginsburg@creditlaw.com

                                              ATTORNEY IN CHARGE
                                              FOR PLAINTIFF
  Case 2:16-cv-00352 Document 11 Filed on 01/26/17 in TXSD Page 2 of 3



                                             OGLETREE, DEAKINS, NASH,
                                             SMOAK & STEWART, P.C.

                                             /s/ Aimee B. Parsons
                                             Texas State Bar No. 24036229
                                             One Allen Center
                                             500 Dallas Street, Suite 3000
                                             Houston, TX 77002
                                             Phone: (713) 655-0855
                                             Fax: (713) 655-0020
                                             aimee.parsons@odnss.com

                                             ATTORNEY IN CHARGE
                                             FOR DEFENDANT

                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument
has been forwarded according to the Federal Rules of Civil Procedure on the _____ day
of January, 2017.

       Amy L. Bennecoff Ginsburg, Esq.
       Kimmel & Silverman, P.C.
       30 East Butler Pike
       Ambler, PA 19002

                                             /s/ Aimee B. Parsons
                                             Aimee B. Parsons
     Case 2:16-cv-00352 Document 11 Filed on 01/26/17 in TXSD Page 3 of 3



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

OLIVER ESPARZA,

                Plaintiff,

v.
                                                             Case No. 2:16-cv-00352

MEDICREDIT, INC.

                Defendant.


                                ORDER OF DISMISSAL

          In accordance with the Joint Stipulation of Dismissal with Prejudice filed by

Plaintiff Oliver Esparza, and Defendant Medicredit, Inc. (the "Parties"), it is hereby

ORDERED that this action be DISMISSED WITH PREJUDICE. Each party shall be

responsible for his/its own respective costs and attorneys' fees incurred as a result of this

action.

          SIGNED this ______ day of _________________ , 2017.




                                              __________________________________
                                              UNITED STATES DISTRICT JUDGE
